Case 1:22-mj-01155-TAM Document1 Filed 10/26/22 Page 1 of 17 PagelD #: 1

AB:IC

UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF NEW YORK

 

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UNITED STATES OF AMERICA, AFFIDAVIT IN
SUPPORT OF REMOVAL

- against - TO THE MIDDLE

DISTRICT OF GEORGIA

GEORGE IAKOVOU, (Fed. R. Crim. P. 5)

Defendant. Case No. 22-MJ-1155
oe ee ee ee ee eee ee eee eee eee xX

EASTERN DISTRICT OF NEW YORK, SS:

NICHOLAS OLIVER, being duly sworn, deposes and states that he is a Special
Agent with the United States Secret Service (“USSS”), duly appointed according to law and
acting as such.

On or about October 21, 2022, the United States District Court for the Middle
District of Georgia issued an arrest warrant commanding the arrest of GEORGE IAKOVOU for
violation of Title 18, United States Code, Section 1343 (wire fraud).

The source of your deponent’s information and the grounds for his belief are as
follows:!

1. On or about October 21, 2022, the United States District Court for the
Middle District of Georgia issued an arrest warrant commanding the arrest of GEORGE

IAKOVOU pursuant to a criminal complaint (the “Complaint”) for violation of Title 18, United

 

' Because the purpose of this Complaint is to set forth only those facts necessary to

establish probable cause to arrest, | have not described all the relevant facts and circumstances of
which I am aware.
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States Code, Section 1343 (wire fraud) (the “Arrest Warrant’). A true and correct copy of the
Arrest Warrant and Complaint is attached hereto as Exhibit A.

2. On October 25, 2022, IAKOVOU landed at John F. Kennedy International
Airport in Queens, New York around 3:20 p.m. on American Airlines flight 105 from Heathrow
Airport in London, United Kingdom. Customs flagged IAKOVOU’s name as appearing on the
Arrest Warrant. His full name and date of birth listed in the Arrest Warrant matched the full
name and date of birth on his passport issued by the United States, his passport issued by Greece,
and his New York driver’s license that he carried. IAKOVOU also provided his name and
address, which matched the name and address listed on the Arrest Warrant.

3. After confirming his identity, the USSS arrested IAKOVOU on the Arrest
Warrant.

4, Based on the foregoing, I submit that there is probable cause to believe

that the defendant is the GEORGE IAKOVOU wanted in the Middle District of Georgia.
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WHEREFORE, your deponent respectfully requests that the defendant GEORGE

IAKOVOU be removed to the Middle District of Georgia so that he may be dealt with according

LLG —

Nicholas Oliver
Special Agent
United States Secret Service

to law.

Sworn to before me this
26th day of October, 2022

HONGRABDE TARYN ASMERKL
UNITED STATES MAGISTRATE JUDGE
EASTERN DISTRICT OF NEW YORK

   
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Exhibit A
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AQ 91 (Rev. 11/11) Criminal Complaint

UNITED STATES DISTRICT COURT

 

 

for the 4
Middle District of Georgia 9
my
United States of America )
v. ) Ls
N72 Mi 1ST
GEORGE IAKOVOU )  CaseNo, H 22M we
) @
)
)
)
Dejendant(s)
CRIMINAL COMPLAINT
1, the complainant in this case, state that the following is true to the best of my knowledge and belief.
On or about the date(s) of November 30 2020 inthe county of _ ___—=-_ Muscogee in the
__._._ Middle __ Districtof _ Georgia _, the defendant(s) violated:
Code Section Offense Description
18 U.S.C. 1343 On or about November 30, 2020, in the Middle District of Georgia and

elsewhere, defendant, GEORGE [AKOVOU, for the purpose of executing the
scheme to defraud and obtaining money by fraudulent pretenses and
tepresentations,transmitted by means of wire communication in intertstate
commerce signals, writings, and communications, that is, sent an e-mail
originating in New York to a recipient, referred to by the initials G.D., located

in Georgia

This criminal complaint is based on these facts:

See affidavit

& Continued on the attached sheet.
s/ Joseph Andy Meeks
Complainant's signature
Joseph "Andy" Meeks, USSS Special Agent

Printed name and title

Attested to by the applicant in accordance with the requirements of Fed. R. Crim. P. 4.1 by

telephone. © [CoS AN LV
Date: oe fay (22 Sor Sol / [hes.

" udge 's signature

Columbus, GA Hon.Stephen Hyles, United States Magistrate Judge

Printed name and litle

City and state:
Case 1:22-mj-01155-TAM Document1 Filed 10/26/22 Page 6 of 17 PagelD #: 6

UNITED STATES DISTRICT COURT
MIDDLE DISTRICT OF GEORGIA

Defendant.

COLUMBUS DIVISION
UNITED STATES OF AMERICA )
) -
Vv. ) Case No. 4:22-MJ-_}3/
)
GEORGE IAKOVOU ) Filed under seal
)
)
)

 

AFFIDAVIT IN SUPPORT OF A CRIMINAL COMPLAINT
1, Joseph Meeks, being first duly sworn, hereby depose and state that the following is true

and correct to the best of my knowledge and belief:

INTRODUCTION

1. I am a Special Agent with the United States Secret Service (“Secret Service” or
“USSS”) and have been so employed since February 2002. During my tenure with the Secret
Service, I have been assigned to investigate violations of federal laws, including violations of Title
18 of the United States Code, and specifically those related to the passing of counterfeit United
States currency and fraud. I received criminal investigative training at the Federal Law
Enforcement Training Center in Glynco, Georgia, and at the James J. Rowley Secret Service
Training Center in Beltsville, Maryland, pertaining to criminal investigations of counterfeit

currency, bank fraud, money laundering, wire fraud, access device fraud, and identity theft.

2. As a Secret Service agent, I am a “federal law enforcement officer” within the
meaning of Federal Rule of Criminal Procedure 41(a)(2)(C), that is, a government agent engaged
in enforcing the criminal laws and duly authorized by the Attorney General to request a search

warrant. During my time as a Special Agent, I have participated in investigations into and received
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training regarding wire fraud, bank fraud, and money laundering schemes. | have participated in
the execution of search warrants of premises, including those involving electronic evidence.
Through my training and experience, J] have become familiar with the manner in which people use
technology to commit crimes and the law enforcement techniques that can be used to investigate

and disrupt such activity.

5. I am familiar with the facts and circumstances set forth below from my personal
participation in the investigation, from my review of the investigative file and from reports of other
law enforcement officers involved in the investigation, and my training, experience, and advice
received concerning the use of computers in criminal activity and the forensic analysis of
electronically stored information (“ESI”). Unless specifically indicated, all conversations and
statements described in this affidavit are related in sum and substance and in part only. This
affidavit is-intended to show only that there is probable cause for securing a complaint and does
not set forth all of my knowledge about this matter.

4, I am submitting this affidavit in support of a Criminal Complaint for George
Iakovou. As will be shown below, there is probable cause to believe IAKOVOU committed the
crime of Wire Fraud, in violation of Title 18, United States Code, Section 1343.

APPLICABLE STATUTE

5. According to Title 18, United States Code, Section 1343, it is unlawful to devise
any scheme or artifice to defraud, or obtain money or property by means of false or fraudulent
pretenses, representation, or promises, by transmitting or causing to be transmitted by means of
wire in interstate or foreign commerce, any writings, signs, signals, pictures, or sounds for the
purpose of executing such scheme or artifice.

PROBABLE CAUSE
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6. On or about, July 8, 2021, the USSS, Albany Resident Office received a report of
a fraud scheme (“Scheme”) involving pre-IPO investments in various early and late-stage
private companies through Vika Ventures, LLC, with a company address of 85 Broad Street,

New York, New York.

1s The Scheme entailed Vika Ventures LLC receiving capital from investors for
the purposes of purchasing pre-IPO shares of stock in specific private companies. Once the
private companies went public, and a mandatory six-month lockout period expired, Vika

Ventures LLC was to deliver the purchased shares to its investors.

8. According to its company website, www. Vika-Ventures.com, Vika Ventures LLC
purports to be a premier boutique venture capital firm that specializes in pre-IPO investments
and the private equity market. Their primary investment objective is to make venture capital
and growth investments in various early and late-stage private companies. The focus of their
fund is on investing in pivotal technologies, including digital media, social media, clean tech,

life science industries, and artificial intelligence.

9. A public records search of LinkedIn revealed that George Jakovou and
Penelope Zbravos represented themselves as the Chief Executive Officer and Finance
Manager, respectively, for Vika Ventures LLC.

10. Based on my conversations with victims, my review of electronic communications,
and review of bank records, I am aware that victims wishing to purchase pre-IPO shares through
Vika Ventures received an email from IAKOVOU from “giakovou@vika-ventures.com” that

included documents for them to review, or sign and return.

11, In the documents were instructions for them to send their investment funds to the
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following bank account (“INVESTOR ACCOUNT”).

Bank Name: JP Morgan Chase Bank
ABA#: 021000021
Account Name: Vika Ventures LLC

85 Broad St., FL 30
New York, NY 10004
Account Number: KXXXX8288

SWIFT/AIBAN: USD CHASUS33

12. For example, based on my conversations with a victim (““Victim-1”) and records
provided by Victim-1, I am aware that:

a. Victim-1 is a resident of Columbus, Muscogee County, Georgia, which
is a place situated in the Middle District of Georgia.

b. On November 30, 2020, Victim-1 received an cmail (“Email-1”),
purportedly from IAKOVOU, from “giakovou@vika-ventures.com” in
regard to Victim-1’s interest in purchasing pre-IPO shares of Airbnb at
thirty-five dollars ($35.00) per share. The email included documents for
Victim-1 to review or sign & return. Included in the documents sent to
Victim-1 were instructions for Victim-1 to send their investment funds to

the INVESTOR ACCOUNT

Gs On December 9, 2020, Victim-1 wired thirty-five thousand and 00/100
dollars ($35,000.00) to the INVESTOR ACCOUNT for one thousand

(1,000) shares of Airbnb.

d. On December 12, 2020, Victim-1 received an email (purportedly from
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IAKOVOU) from giakovou@vika-ventures.com with a Buy Confirmation
Letter attached that stated, “Your total capital contribution of $35,000.00
received on December 9th, 2020, constitutes a 100% membership interest
in Series E-8 of the company. Scrics E-8 currently holds 1000 shares of
common stock for Airbnb, through an affiliate of the Company. There have
been 0% fees deducted on this transaction and your capital contribution is
$35,000.00, which has been applied to an investment in 1000 underlying
shares of Airbnb at a purchase price equivalent to $35 per share. The fee
breakdown is as follows: 1% expense fee, 2% management fee, 2% due
diligence fee.

e. Airbnb went public on December 9, 2020, and its six-month lock out
period expired on June 9, 2021. VICTIM #1 has not received any shares
of Airbnb from Jakovou or others.

f. Between on or about December 9, 2019 and March 29, 2021, Victim-1
sent six wire transfers to the INVESTOR ACOUNT, totaling
approximately two hundred seventy-nine thousand and 00/100 dollars

($279,000.00).

13. Over fifty (50) victims have been identified that have provided capital to Vika
Ventures LLC between January 2, 2020, and May 18, 2021, for investment interests in pre-IPO

shares including, but not limited to, Palantir, Airbnb, Coupang, SpaceX, and Stripe.

i. Palantir went public on September 30, 2020, and the six-month lock

out period expired on March 31, 2021.

ii. Airbnb went public on December 9, 2020, and the six-month lock out
Case 1:22-mj-01155-TAM Document 1 Filed 10/26/22 Page 11 of 17 PagelD #: 11

period expired on June 9, 2021.

iii. | Coupang went public on March 11, 2021, and the six-month lock out

period expired on September 11, 2021.

iv. The financial investment community anticipates Stripe will go public

in 2021, but that SpaceX will wait until 2023, or later.

14. Between January 2, 2020, and May 18, 2021, victims collectively sent
approximately five million, six hundred thirty-nine thousand, five hundred five and 00/100 dollars

($5,639,505.00) to the INVESTOR ACCOUNT.

Overview of [IAKOVOU’s Conduct and Finances

15. Based on my participation in this investigation and my review of documents and
records, to include bank; IP address information; my and other law enforcement officers’
conversations with victims; and my training and experience, ] am aware that, among other things,

that:

a. IAKOVOU is the titled owner of multiple personal bank accounts in his
name, as well as has opened businesses accounts to which he is the sole
Authorized Signer. For example, on September 24, 2019, IAKOVOU
opened Bank of America Account No. 483068570021 (“BOA Acct.
XXXX0021”). BOA Acct. XXXX0021 is titled to IAKOVOU and

IAKOVOU is the sole authorized signer to the account.

b. ZBRAVOS is the titled owner of multiple personal bank accounts in her
name, as well as has opened businesses accounts to which she is the sole

Authorized Signer. For example, on December 19, 2019, ZBRAVOS
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opened JP Morgan Chase Bank account No. 588608288 in the name of Vika
Ventures LLC (“INVESTOR ACCOUNT”). ZBRAVOS is listed as the
sole authorized signor to the INVESTOPR ACCOUNT - IAKOVOU was

added as a Member to the INVESTOR ACCOUNT on the same date.

c. The INVESTOR ACCOUNT’s initial deposit was a check (“OPENING
CHECK”), drawn on BOA Acct. XXXX0021, pay to the order of Vika
Ventures LLC, for three hundred thousand and 00/100 dollars

($300,000.00) and dated December 02, 2019.

d, BOA Acct. XXXX0021’s balance on December 02, 2019 was minus two
thousand five hundred twenty-four and 00/100 dollars (-§2,524.00). Bank

of America force closed the account on December 12, 2019.

é. The OPENING CHECK used to open the INVESTOR ACCOUNT was
returned on December 20, 2019 because BOA Acct. XXXX0021 had been

closed at the time the OPENING CHECK was negotiated.

f. Additionally, IAKOVOU is the titled owner and sole authorized signer of
HSBC Checking Account No. 646056301 (ACCOUNT-1) - opened on or
about June 20, 2020; HSBC Savings Account No. 646056344 (ACCOUNT-
2), - opened on or about June 20, 2020 and HSBC Savings Account No.
705049400 (ACCOUNT-3) - opened on or about April 8, 2021

(collectively, the “IAKOVOU ACCOUNTS”).

16. Analysis of select emails that investors received (purportedly from IAKOVOU)

from giakovou@vika-ventures.com which included documents for the investors to review, or sign
and return, revealed that the emails originated from an IP address that was assigned to an account

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in the name of George Iakovou, at the SUBJECT PREMISES.

17. A review of bank records revealed IAKOVOU and others routed the investors’
money through a series of bank accounts they controlled; eventually funding their own personal
bank accounts, and brokerage accounts. With the exception of the Named Defendant Properties
listed in the Warrant of Arrest in Rem, issued by the Honorable Clay D. Land, United States
District Court Judge, Middle District of Georgia on September 22, 2021, incorporated by reference
herein, IAKOVOU and others used all, or most of, these funds for purposes other than the
investments the victims believed they were making, including for their own benefit; as set forth in
the examples below.

° For example, on January 28, 2021 victim(s) sent the INVESTOR ACCOUNT

approximately two million, one hundred thousand and 00/100 dollars ($2,100,000).

° Continuing on the same date, the following transactions debited the INVESTOR
ACCOUNT:
° Six hundred ninety thousand and 00/100 dollars ($690,000.00) was wired

to HSBC checking account no. 646056301 (“ACCOUNT-1”) - titled to
IAKOVOU. On the same date, six hundred ninety thousand and 00/100 dollars
($690,000.00) was wired from ACCOUNT-1 to HSBC savings account no.
646056344 (““ACCOUNT-2”) — also titled to IAKOVOU. Between February 5,
2021 and March 1, 2021, ACCOUNT-2 was debited six hundred fifty-six thousand
seventy-seven and 71/100 dollars ($656,077.71), funding the purchases of luxury
time pieces, the purchase of an automobile, real-estate fees for a luxury residential
apartment, as well as other personal expenditures.

18. Based upon the aforementioned facts, there is probable cause to believe that Vika
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Ventures, LLC, George IAKOVOU and others committed Wire Fraud in violation of Title 18 of
United States Code, Section 1343. The fraudulent scheme was executed, in part, by emails
originating in New York to destinations in Georgia, which resulted in the transmission of payments
made by wire from financial institutions in Georgia to the INVESTOR ACCOUNT - located in
New York. IAKOVOU and Zbravos were integral participants of the fraud scheme, in that they
represented themselves as officers of Vika-Ventures LLC and led the investors to believe that their
investments would be applied towards the acquisition of pre-IPO shares of private companies. In
fact, LAKOVOU and Zbravos used all, or most of, these funds for purposes other than the
investments the victims believed they were making, including for their own benefit. The funds
used to pay for luxury items, vehicles, and other personal expenditures were obtained by means of
false or fraudulent pretenses.
REQUEST FOR SEALING

19. It is respectfully requested that this Court issue an order sealing, until further order
of the Court, all papers submitted in support of this application, including the affidavit and
complaint. I believe that sealing this document is necessary because the items and information to
be seized are relevant to an ongoing investigation into the criminal organizations as not all of the
targets of this investigation will be searched at this time. Based upon my training and experience,
I have learned that online criminals actively search for criminal affidavits and search warrants via
the Internet, and disseminate them to other online criminals as they deem appropriate, 1.e., post
them publicly online through the carding forums. Premature disclosure of the contents of this
affidavit and related documents may have a significant and negative impact on the continuing

investigation and may severely jeopardize its effectiveness.

Respectfully submitted,
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s/Joseph Meeks

Joseph “Andy” Meeks
Special Agent
U.S. Secret Service

Pursuant to Federal Rule of Criminal Procedure 4.1, the contents of the present affidavit
were telephonically sworn to meon__Oey. 2 , 2022.

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SD _ wefan L Lhe

Honorable Stephen Hyles ‘fH
UNITED STATES MAGISTRATE JUDGE

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AO 442 (Rev. EI/I1) Arrest Warrant

 

UNITED STATES DISTRICT COURT

for the
Middle District of Georgia [~]

United States of America

 

Vv. )
GEORGE IAKOVOU CaseNo. 4 Z2 MS IS?
)
)
)
Defendant
ARREST WARRANT

To: — Any authorized law enforcement officer

YOU ARE COMMANDED to arrest and bring before a United States magistrate judge without unnecessary delay

(name of person to be arrested) GEORGE IAKOVOU :
who is accused of an offense or violation based on the following document filed with the court:

 

C1 Indictment oO Superseding Indictment 0 Information 0 Superseding Information we Complaint
O Probation Violation Petition ©) Supervised Release Violation Petition | Violation Notice O Order of the Court

This offense is briefly described as follows:
18 U.S.C. 1343 - Wire Fraud

CS (Los An
Date: (of at} 2e eDT | pl_( pes

Issuing officer's signature 7 |

City and state: Calue tus lu A-, STerien lyces USMS
Printed name and title f

Return

 

 

 

 

This warrant was received on (date) , and the person was arrested on (date)
at (city and state)

 

Date: _

 

Arresting officer's signature

 

Printed name and title

 

 

 
Case 1:22-mj-01155-TAM Document 1 Filed 10/26/22 Page 17 of 17 PagelD #: 17

AO 442 (Rev. 11/11) Arrest Warrant (Page 2}

This second page contains personal identifiers provided for law-enforcement use only
and therefore should not be filed in court with the executed warrant unless under seal.

(Not for Public Disclosure)

Name of defendant/offender; George lakovou

Known aliases:

 

Last known residence: _ 50 West Street, Apartment 538, New York, NY 10006

Prior addresses to which defendant/offender may still have ties: _ 7910 14th Avenue, Brooklyn, NY 11228,

 

408 E Madison Street, Kirklin, IN 46050

Last known employment: Vika Ventures LLC and Syren Capital

 

 

 

 

 

 

 

 

Last known telephone numbers: 929-288-0825

Place of birth: Greece

Date of birth: 06/26/1993 —
Social Security number: XXX-XX-XXXX

Height: 5111" Weight; _ 220 lbs

Sex: _Male Race: White

Hair: BRN Byes: BRN _

 

 

Scars, tattoos, other distinguishing marks: _UNkown insignia tattoo on wrist

 

 

History of violence, weapons, drug use: _ 50¢ial media post in possession of a handgun

 

Known family, friends, and other associates (name, relation, address, phone number): Saul Shalev, friend, 1538 E 4th St., Brookly,

 

 

NY 11230
FBI number: _N/A
Complete description of auto: N/A

 

 

Investigative agency and address: USSS, Albany GA Resident Office, 410 W. Broad St., Suite 410, Albany, GA 31701

 

Name and telephone numbers (office and cell) of pretrial services or probation officer (if applicable):

 

 

Date of last contact with pretrial services or probation officer (ifapplicable): _N/A

 

 
